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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION


JUSTIN FERGUSON,                              )
                                              )
                       Plaintiff,             )
                                              )       CIVIL ACTION
vs.                                           )
                                              )       FILE No.
AQQAD INVESTMENTS, LLC,                       )
                                              )
                       Defendant.             )

                                            COMPLAINT

        COMES NOW, JUSTIN FERGUSON, by and through the undersigned counsel, and files

this, his Complaint against Defendant, AQQAD INVESTMENTS, LLC, pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).              In support thereof, Plaintiff

respectfully shows this Court as follows:

                                        JURISDICTION

        1.     This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                             PARTIES

        2.     Plaintiff, JUSTIN FERGUSON (hereinafter “Plaintiff”) is, and has been at all

times relevant to the instant matter, a natural person residing in Fort Worth, Texas (Tarrant

County).

        3.     Plaintiff is disabled as defined by the ADA.

        4.     Plaintiff is required to traverse in a wheelchair and is substantially limited in


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performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property as soon as it is accessible (“Advocacy Purposes”)

       7.      Defendant      AQQAD           INVESTMENTS,       LLC      (hereinafter    “AQQAD

INVESTMENTS, LLC”) is a Texas limited liability company that transacts business in the State

of Texas and within this judicial district.

       8.      Defendant, AQQAD INVESTMENTS, LLC, may be properly served with

process via its registered agent for service, to wit: Taisseer Al-Aqqad, Registered Agent, 3576

W. Seminary Drive, Fort Worth, TX 76133.

                                   FACTUAL ALLEGATIONS

       9.      On or about September 12, 2019, Plaintiff was a customer at The Best Food Store,

a business located at 3576 W. Seminary Drive, Fort Worth, TX 76133 referenced herein as the

“The Best Food Store.”

       10.     The Best Food Store is located on the Property owned by Defendant, AQQAD

INVESTMENTS, LLC.



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       11.     AQQAD INVESTMENTS, LLC is the owner or co-owner of the real property

and improvements that The Best Food Store is situated upon and that is the subject of this action,

referenced herein as the “Property.”

       12.     Plaintiff lives 3 miles from The Best Food Store and the Property.

       13.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months or sooner, as soon

as the barriers to access detailed in this Complaint are removed and the Property are accessible

again. The purpose of the revisit is to be a regular customer, to determine if and when the

Property are made accessible, and to maintain standing for this lawsuit for Advocacy Purposes.

       14.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

regular customer living in the vicinity as well as for Advocacy Purposes, but does not intend to

re-expose herself to the ongoing barriers to access and engage in a futile gesture of visiting the

public accommodation known to Plaintiff to have numerous and continuing barriers to access.

       15.     Plaintiff’s access to the business(es) located at 3576 W. Seminary Drive, Fort

Worth, TX     76133, Tarrant County Property Appraiser’s account number 01486713 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and she will be denied and/or limited in the future unless and until

Defendant, AQQAD INVESTMENTS, LLC, is compelled to remove the physical barriers to

access and correct the ADA violations that exist at the Property, including those set forth in this

Complaint.

       16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered the barriers to access at the Property that are detailed in this



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Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.

                                      COUNT I
                          VIOLATIONS OF THE ADA AND ADAAG

       17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       18.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and nonproductivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of


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               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.     The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       26.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer of the Property and as an independent advocate for the disabled, but

could not fully do so because of his disabilities resulting from the physical barriers to access,



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dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       27.     Plaintiff intends to visit the Property again within six months or sooner as a

customer and as an independent advocate for the disabled, in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly offered at the

Property, but will be unable to fully do so because of his disability and the physical barriers to

access, dangerous conditions and ADA violations that exist at the Property that preclude and/or

limit his access to the Property and/or the goods, services, facilities, privileges, advantages

and/or accommodations offered therein, including those barriers, conditions and ADA violations

more specifically set forth in this Complaint.

       28.     Defendant, AQQAD INVESTMENTS, LLC, has discriminated against Plaintiff

(and others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       29.     Defendant, AQQAD INVESTMENTS, LLC, will continue to discriminate against

Plaintiff and others with disabilities unless and until Defendant, AQQAD INVESTMENTS,

LLC, is compelled to remove all physical barriers that exist at the Property, including those

specifically set forth herein, and make the Property accessible to and usable by Plaintiff and

other persons with disabilities.




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       30.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced, observed and or was made aware of prior to the filing of

the Complaint that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

       (a)     ACCESSIBLE ELEMENTS:

       (iii)   At Unit 3564, there is a doorway threshold with a vertical rise in excess of ½ (one

               half) inch and does not contain a bevel with a maximum slope of 1:2 in violation

               of Section 404.2.5 of the 2010 ADAAG standards. This violation made it

               dangerous and difficult for Plaintiff to access this public accommodation on the

               Property.

       (iv)    The Property lacks an accessible route from the public sidewalk to the accessible

               entrances of the Property in violation of Section 206.2.1 of the 2010 ADAAG

               standards. This violation made it difficult for Plaintiff to access the units of the

               Property.

       (v)     Adjacent to Unit 3570, due to vertical rises exceeding ½ inch and surface slopes

               exceeding 1:10 on the exterior accessible route, the Property lacks an accessible

               route connecting accessible facilities, accessible elements and/or accessible

               spaces of the Property in violation of Section 206.2.2 of the 2010 ADAAG

               standards. This violation made it difficult for Plaintiff to access public features of

               the Property.

       (vi)    Adjacent to Unit 3570, as there is a change in level exceeding ½ inch on the

               accessible route, the accessible route is not properly ramped in accordance with



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           sections 405 or 406, the failure to properly ramp the accessible route is a violation

           of section 303.4 of the 2010 ADAAG Standards.

  (vii)    Adjacent to Unit 3570, the route has a cross-slope exceeding 1:48 in violation of

           section 403.3 of the 2010 ADAAG Standards.

  (viii)   Due to the accessible barrier adjacent to Unit 3570, there is no accessible route

           from the parking lot to the accessible entrances to Unit 3570, Unit 3568, Unit

           3564, all public accommodations, in violation of section 206.2.2 of the 2010

           ADAAG Standards

  (ix)     At Unit 3570, the maneuvering clearance of the accessible entrance is not level in

           violation of Section 404.2.4.4 of the 2010 ADAAG standards. This violation

           made it difficult for Plaintiff to access the units of the Property.

  (x)      Despite having a parking lot that is open to the public with more than four spaces,

           the Property has no marked accessible parking spaces complying with Section

           502.1 of the 2010 ADAAG standards in violation of Section 208.2 of the 2010

           ADAAG standards. This violation made it difficult for Plaintiff to locate an

           accessible parking space and limited the travel options to visit the Property.

  (xi)     As the parking lot has a total number of parking spaces between 25 and 50, the

           Property should have two accessible parking spaces, however, there are no

           marked accessible parking spaces in violation of section 208.2 of the 2010

           ADAAG Standards.

  (xii)    At Unit 3574, the Property has an accessible ramp leading from the accessible

           parking space to the accessible entrances with a slope exceeding 1:12 in violation




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               of Section 405.2 of the 2010 ADAAG standards. This violation made it dangerous

               and difficult for Plaintiff to access the units of the Property.

        (xiii) Defendant fails to adhere to a policy, practice and procedure to ensure that all

               facilities are readily accessible to and usable by disabled individuals.

        31.    The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

        32.    Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

        33.    The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

        34.    All of the violations alleged herein are readily achievable to modify to bring the

Property into compliance with the ADA.

        35.    Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

        36.    Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, AQQAD

INVESTMENTS, LLC, has the financial resources to make the necessary modifications.

        37.    Upon information and good faith belief, the Property have been altered since

2010.

        38.    In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with



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the 1991 ADAAG standards.

          39.   Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that she will continue to suffer irreparable harm unless and until

Defendant, AQQAD INVESTMENTS, LLC, is required to remove the physical barriers,

dangerous conditions and ADA violations that exist at the Property, including those alleged

herein.

          40.   Plaintiff’s requested relief serves the public interest.

          41.   The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant.

          42.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, AQQAD INVESTMENTS, LLC, pursuant to 42 U.S.C. §§ 12188 and

12205.

          43.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, AQQAD

INVESTMENTS, LLC, to modify the Property to the extent required by the ADA.

          WHEREFORE, Plaintiff prays as follows:

          (a)   That the Court find Defendant, AQQAD INVESTMENTS, LLC, in violation of

                the ADA and ADAAG;

          (b)   That the Court issue a permanent injunction enjoining Defendant, AQQAD

                INVESTMENTS, LLC, from continuing their discriminatory practices;

          (c)   That the Court issue an Order requiring Defendant, AQQAD INVESTMENTS,

                LLC, to (i) remove the physical barriers to access and (ii) alter the subject

                Property to make it readily accessible to and useable by individuals with



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         disabilities to the extent required by the ADA;

   (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

         and costs; and

   (e)   That the Court grant such further relief as deemed just and equitable in light of the

         circumstances.

                                       Dated: September 20, 2019.

                                       Respectfully submitted,

                                       Law Offices of
                                       THE SCHAPIRO LAW GROUP, P.L.

                                       ____________________________
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